          Case 4:18-cv-03369 Document 40 Filed on 08/28/20 in TXSD Page 1 of 4




                             UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    BAYOU CITY WATERKEEPER                          §
        Plaintiff                                   §
                                                    §
    v.                                              §          CIVIL ACTION NO. 4:18-cv-03369
                                                    §
    CITY OF HOUSTON                                 §
         Defendant                                  §

                          DEFENDANT CITY OF HOUSTON’S
                   UNOPPOSED MOTION TO EXTEND DISCOVERY STAY

           Defendant City of Houston (the “City”) requests that the Court extend the current stay of

discovery an additional 30 days until September 30, 2020. The United States of America and the

State of Texas have filed their Motion to Enter the Consent Decree. The current stay expires at

midnight on August 31, 2020.

           In its August 4, 2020 Order, the Court stayed discovery in this case until August 31, 2020,

because of the pending Consent Decree that has been lodged in the related lawsuit filed against the

City by the United States of America and the State of Texas that is now pending in Judge

Eskridge’s court: United States v. City of Houston, No. 4:18-CV-3368 (S.D. Tex.) (the “United

States’ Lawsuit”).1 The Court stated that if “the settlement in the United States’ Lawsuit has not

been finalized by that date, the parties may request an extension of the stay.”2

           The United States and Texas previously lodged the Consent Decree containing the terms

of the settlement in the United States’ Lawsuit.3 On August 7, 2020, the United States and Texas




1
 See Doc. 39. The United States’ Lawsuit was previously in Judge Werlein’s court. On October 23, 2019, the United
States’ Lawsuit was transferred to Judge Eskridge’s court. See Doc. 41 in the United States’ Lawsuit.
2
    Id.
3
    Doc. 27.
         Case 4:18-cv-03369 Document 40 Filed on 08/28/20 in TXSD Page 2 of 4




filed a motion in the United States’ Lawsuit asking the court to approve the Consent Decree.4

Because of issues related to Hurricane Laura, Bayou City Waterkeepers is requesting additional

time to respond to the motion to approve the Consent Decree.

           To ensure that the stay is extended until the Motion to Enter the Consent Decree is decided,

the City, therefore, requests that the Court extend the current stay on discovery an additional 30

days, until September 30, 2020.




4
    Doc. 42 in United States’ Lawsuit.

                                                    2
Case 4:18-cv-03369 Document 40 Filed on 08/28/20 in TXSD Page 3 of 4




                          Respectfully submitted,

                                                    /s/ Debra Tsuchiyama Baker
                                                    Debra Tsuchiyama Baker
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                                    3
     Case 4:18-cv-03369 Document 40 Filed on 08/28/20 in TXSD Page 4 of 4




                                  CERTIFICATE OF SERVICE

       I hereby certify that on August 28, 2020, a copy of the above document was served on all
counsel of record via the Court’s electronic filing system.

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                             /s/ Debra Tsuchiyama Baker
                             Debra Tsuchiyama Baker




                               CERTIFICATE OF CONFERENCE

       I hereby certify that on August 27, 2020, I conferred with Plaintiff Bayou City
Waterkeeper’s counsel Lauren Ice, who informed me that Plaintiff Bayou City Waterkeeper does
not oppose the Court granting the relief requested in this motion.

                             /s/ Debra Tsuchiyama Baker
                             Debra Tsuchiyama Baker




                                              4
